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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



                                                                           Civil Action
                                                                           No: 15-11545-NMG


                              SUNRISE TECHNOLOGIES, INC.

                                                v.


                                  CIMCON LIGHTING, INC.



                       SETTLEMENT ORDER OF DISMISSAL

GORTON, D.J.


       The Court having been advised that the above captioned action settled:

       It is hereby ORDERED that this action is hereby dismissed without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within 45 days if

settlement is not consummated.



                                                                   By the Court,


                                                                   /s/ Christine M. Lima
                                                                   Deputy Clerk


December 29, 2017

To: All Counsel
